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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

_____________________________________________________________________________

In re: Ace C. Fouts and                                 Case No 19-30988
      Theresa R. Fouts,

                                                        Chapter No. 7

            Debtors                       Judge Laura K. Grandy
______________________________________________________________________________

                MOTION FOR ENTRY OF STIPULATED PROTECTIVE ORDER

            John C. Caraker and Deighan Law LLC d/b/a UpRight Law LLC (“UpRight Law”), by

  and through counsel, hereby move for entry of a stipulated protective order.

            The United States Trustee has agreed to entry of a stipulated protective order to cover

  documents produced by any of the parties including in relation to Rule 2004 examinations and

  associated requests for documents. This Order is identical to the Order entered in the case of In re:

  Potter, 19-60216 (Doc. 56). The parties request entry of the proposed order attached as Exhibit A.

            For the foregoing reasons, the Court is respectfully requested to grant the relief

  sought.

                                                              Respectfully submitted,

                                                              /s/ Charles A. Armgardt
                                                              Charles A. Armgardt
                                                              Of Counsel
                                                              UpRight Law LLC
                                                              79 W. Monroe, 10th Floor
                                                              Chicago, IL 60603
                                                              312-792-9533
                                                              carmgardt@uprightlaw.com

                                                              Counsel for Mr. Caraker and UpRight
                                                              Law LLC




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                               CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of the foregoing was served upon all counsel of
record via CM/ECF filing system and to the debtor listed below via regular first-class mail,
proper prepaid postage and deposited at a U.S. Mailbox in Chicago, Illinois on or about March
24, 2020

Ace & Theresa Fouts
604 Villa Dr
Belleville, IL 62223

                                                           /s/ Charles A. Armgardt
                                                           Charles A. Armgardt




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